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                    State of New York, et al. v. Donald J. Trump, et al.
                                 Case No. 1:25-cv-11221

  THE U.S. ENVIRONMENTAL PROTECTION AGENCY’S CERTIFIED INDEX TO
                    THE ADMINISTRATIVE RECORD

Document Title                                                        Date
Temporary Withdrawal of All Areas on the Outer Continental Shelf      January 20, 2025
From Offshore Wind Leasing and Review of the Federal Government’s
Leasing and Permitting Practices for Wind Projects
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                                                                                                    Memorandum of January 20, 2025

                                                                                                    Temporary Withdrawal of All Areas on the Outer Conti-
                                                                                                    nental Shelf From Offshore Wind Leasing and Review of the
                                                                                                    Federal Government’s Leasing and Permitting Practices for
                                                                                                    Wind Projects

                                                                                                    Memorandum for the Secretary of the Treasury[,] the Attorney General[,]
                                                                                                    the Secretary of the Interior[,] the Secretary of Agriculture[,] the Sec-
                                                                                                    retary of Energy[, and] the Administrator of the Environmental Protection
                                                                                                    Agency

                                                                                                    Section 1. Temporary Withdrawal of Areas. Consistent with the principles
                                                                                                    of responsible public stewardship that are entrusted to this office, with
                                                                                                    due consideration for a variety of relevant factors, including the need to
                                                                                                    foster an energy economy capable of meeting the country’s growing demand
                                                                                                    for reliable energy, the importance of marine life, impacts on ocean currents
                                                                                                    and wind patterns, effects on energy costs for Americans—especially those
                                                                                                    who can least afford it—and to ensure that the United States is able to
                                                                                                    maintain a robust fishing industry for future generations and provide low
                                                                                                    cost energy to its citizens, I hereby direct as follows:
                                                                                                    Under the authority granted to me in section 12(a) of the Outer Continental
                                                                                                    Shelf Lands Act, 43 U.S.C. 1341(a), I hereby withdraw from disposition
                                                                                                    for wind energy leasing all areas within the Offshore Continental Shelf
                                                                                                    (OCS) as defined in section 2 of the Outer Continental Shelf Lands Act,
                                                                                                    43 U.S.C. 1331. This withdrawal shall go into effect beginning on January
                                                                                                    21, 2025, and shall remain in effect until this Presidential Memorandum
                                                                                                    is revoked.
                                                                                                    To the extent that an area is already withdrawn from disposition for wind
                                                                                                    energy leasing, the area’s withdrawal is extended for a time period beginning
                                                                                                    on January 21, 2025, until this Presidential Memorandum is revoked.
                                                                                                    This withdrawal temporarily prevents consideration of any area in the OCS
                                                                                                    for any new or renewed wind energy leasing for the purposes of generation
                                                                                                    of electricity or any other such use derived from the use of wind. This
                                                                                                    withdrawal does not apply to leasing related to any other purposes such
                                                                                                    as, but not limited to, oil, gas, minerals, and environmental conservation.
                                                                                                    Nothing in this withdrawal affects rights under existing leases in the with-
                                                                                                    drawn areas. With respect to such existing leases, the Secretary of the
                                                                                                    Interior, in consultation with the Attorney General as needed, shall conduct
                                                                                                    a comprehensive review of the ecological, economic, and environmental
                                                                                                    necessity of terminating or amending any existing wind energy leases, identi-
                                                                                                    fying any legal bases for such removal, and submit a report with recommenda-
                                                                                                    tions to the President, through the Assistant to the President for Economic
                                                                                                    Policy.
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                                                                                                    Sec. 2. Temporary Cessation and Immediate Review of Federal Wind Leasing
                                                                                                    and Permitting Practices. (a) In light of various alleged legal deficiencies
                                                                                                    underlying the Federal Government’s leasing and permitting of onshore and
                                                                                                    offshore wind projects, the consequences of which may lead to grave harm—
                                                                                                    including negative impacts on navigational safety interests, transportation
                                                                                                    interests, national security interests, commercial interests, and marine mam-
                                                                                                    mals—and in light of potential inadequacies in various environmental re-
                                                                                                    views required by the National Environmental Policy Act to lease or permit


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                                                                                                    wind projects, the Secretary of the Interior, the Secretary of Agriculture,
                                                                                                    the Secretary of Energy, the Administrator of the Environmental Protection
                                                                                                    Agency, and the heads of all other relevant agencies, shall not issue new
                                                                                                    or renewed approvals, rights of way, permits, leases, or loans for onshore
                                                                                                    or offshore wind projects pending the completion of a comprehensive assess-
                                                                                                    ment and review of Federal wind leasing and permitting practices. The
                                                                                                    Secretary of the Interior shall lead that assessment and review in consultation
                                                                                                    with the Secretary of the Treasury, the Secretary of Agriculture, the Secretary
                                                                                                    of Commerce, through the National Oceanic and Atmospheric Administration,
                                                                                                    the Secretary of Energy, and the Administrator of the Environmental Protec-
                                                                                                    tion Agency. The assessment shall consider the environmental impact of
                                                                                                    onshore and offshore wind projects upon wildlife, including, but not limited
                                                                                                    to, birds and marine mammals. The assessment shall also consider the
                                                                                                    economic costs associated with the intermittent generation of electricity
                                                                                                    and the effect of subsidies on the viability of the wind industry.
                                                                                                       (b) In light of criticism that the Record of Decision (ROD) issued by
                                                                                                    the Bureau of Land Management on December 5, 2024, with respect to
                                                                                                    the Lava Ridge Wind Project Final Environmental Impact Statement (EIS),
                                                                                                    as approved by the Department of the Interior, is allegedly contrary to
                                                                                                    the public interest and suffers from legal deficiencies, the Secretary of the
                                                                                                    Interior shall, as appropriate, place a temporary moratorium on all activities
                                                                                                    and rights of Magic Valley Energy, LLC, or any other party under the
                                                                                                    ROD, including, but not limited to, any rights-of-way or rights of development
                                                                                                    or operation of any projects contemplated in the ROD. The Secretary of
                                                                                                    the Interior shall review the ROD and, as appropriate, conduct a new,
                                                                                                    comprehensive analysis of the various interests implicated by the Lava Ridge
                                                                                                    Wind Project and the potential environmental impacts.
                                                                                                       (c) The Secretary of the Interior, the Secretary of Energy, and the Adminis-
                                                                                                    trator of the Environmental Protection Agency shall assess the environmental
                                                                                                    impact and cost to surrounding communities of defunct and idle windmills
                                                                                                    and deliver a report to the President, through the Assistant to the President
                                                                                                    for Economic Policy, with their findings and recommended authorities to
                                                                                                    require the removal of such windmills.
                                                                                                       (d) The Attorney General may, as appropriate and consistent with applica-
                                                                                                    ble law, provide notice of this order to any court with jurisdiction over
                                                                                                    pending litigation related to any aspect of the Federal leasing or permitting
                                                                                                    of onshore or offshore wind projects or the Lava Ridge Wind Project, and
                                                                                                    may, in the Attorney General’s discretion, request that the court stay the
                                                                                                    litigation or otherwise delay further litigation, or seek other appropriate
                                                                                                    relief consistent with this order, pending the completion of the actions
                                                                                                    described in subsection (a) or subsection (b) of this section, as applicable.
                                                                                                    This memorandum shall be implemented consistent with applicable law
                                                                                                    and subject to the availability of appropriations.
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                                                                                                    This memorandum is not intended to, and does not, create any right or
                                                                                                    benefit, substantive or procedural, enforceable at law or in equity by any
                                                                                                    party against the United States, its departments, agencies, or entities, its
                                                                                                    officers, employees, or agents, or any other person. You are authorized
                                                                                                    and directed to publish this memorandum in the Federal Register.




                                                                                                    THE WHITE HOUSE,
                                                                                                    Washington, January 20, 2025


                                                [FR Doc. 2025–01966
                                                Filed 1–28–25; 8:45 am]
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